             Case 2:13-cr-00302-MCE Document 145 Filed 11/20/18 Page 1 of 2


 1 LAW OFFICES OF CHRIS COSCA

 2 CHRISthCOSCA        (SBN 144546)
   1007 7 Street, Suite 210
 3 Sacramento, CA 95814
   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
 5

 6

 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
10
                                    Plaintiff,       AMENDED WAIVER OF DEFENDANT JAMES
11                                                   SHERMAN’S APPEARANCE AND ORDER
                             v.
12
     JAMES RANDOLPH SHERMAN,
13
                                   Defendant.
14

15
            Defendant JAMES SHERMAN hereby waives his right to be personally present in open
16
     court for the hearing of any status conference, motion or other proceeding in this case, except
17
     that he will agree to be personally present for any plea, sentencing or jury trial, and he agrees
18
     to be personally present in court when so ordered.
19
            Defendant JAMES SHERMAN hereby requests that the court proceed in his absence.
20 Defendant agrees that his interests will be deemed represented at all times by the presence of
21 his undersigned attorney, the same as if he were personally present. Defendant further agrees

22 to be present in court ready for trial on any date set by the court in his absence.

23          Defendant further acknowledges that he has been informed of his rights under the
24 Speedy Trial Act (Title 18 U.S.C. Sections 3161 – 3174), and he has authorized his attorney to

25 set times for hearings and to agree to delays under the provisions of the Speedy Trial Act

26 without him being personally present.
27

28

      WAIVER OF APPEARANCE- SHERMAN, 2:13-CR-00302   1
30    MCE
             Case 2:13-cr-00302-MCE Document 145 Filed 11/20/18 Page 2 of 2

     Dated: November 15, 2018                          Respectfully submitted,
 1

 2

 3                                                     /s/James Sherman
                                                       JAMES SHERMAN
 4                                                     Defendant
 5

 6
                                                       /s/Chris Cosca
 7                                                     CHRIS COSCA
                                                       Attorney for Defendant,
 8                                                     JAMES SHERMAN
 9
10

11                                                   ORDER
12         IT IS SO ORDERED.
13
     Dated: November 19, 2018
14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

      WAIVER OF APPEARANCE- SHERMAN, 2:13-CR-00302     2
30    MCE
